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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

              Plaintiffs,                               Case No. 1:18-CV-950-LO-JFA

     v.
                                                        PLAINTIFFS’ AMENDED CORPORATE
COX COMMUNICATIONS, INC. AND COXCOM,                    DISCLOSURE STATEMENT
LLC.

              Defendants.


          Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiffs submit this Amended

  Corporate Disclosure Statement to provide the following information for the Plaintiffs

  identified below:

          Plaintiffs Atlantic Recording Corporation, Elektra Entertainment Group Inc., Fueled By

  Ramen LLC, Nonesuch Records Inc., Roadrunner Records, Inc., Warner Bros. Records Inc.,

  Warner Chappell Music, Inc., Warner-Tamerlane Publishing Corp., WB Music Corp., W.C.M.

  Music Corp., Unichappell Music Inc., Rightsong Music Inc., Cotillion Music, Inc., and Intersong

  U.S.A., Inc. are wholly-owned indirect subsidiaries of Warner Music Group Corp., which is a

  publicly traded company with more than ten percent of its stock owned by AI Entertainment

  Holdings LLC and certain of its affiliates, which are not publicly traded companies.

          Plaintiff Bad Boy Records LLC is a joint venture in which BB Investments LLC, an

  indirectly wholly-owned subsidiary of Warner Music Group Corp., holds a 50% interest. Bad

  Boy Records, which is not a publicly traded company, holds the remaining 50% interest in Bad

  Boy Records LLC.

          The remaining Plaintiffs disclosure remains unchanged.
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  Dated: July 1, 2020                  Respectfully submitted,

                                       /s/ Scott Zebrak
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